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                                      1   MATTHEW S. FOY (SBN: 187238)
                                          mfoy@grsm.com
                                      2   JAMES L. ELLISON (SBN: 302372)
                                          jlellison@grsm.com
                                      3   GORDON REES SCULLY MANSUKHANI, LLP
                                          275 Battery Street, Suite 2000
                                      4   San Francisco, CA 94111
                                          Telephone: (415) 986-5900
                                      5   Facsimile: (415) 986-8054
                                      6   Attorneys for Plaintiff
                                          AMGUARD INSURANCE COMPANY
                                      7
                                      8                        UNITED STATES DISTRICT COURT
                                      9                      CENTRAL DISTRICT OF CALIFORNIA
                                     10
                                     11   AMGUARD INSURANCE COMPANY,                CASE NO. 2:22-cv-04179
                                          a Pennsylvania Corporation,
633 West Fifth Street, 52nd Floor




                                     12
                                                                   Plaintiff,       COMPLAINT FOR
    Los Angeles, CA 90071
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                                     13                                             DECLARATORY RELIEF AND
                                                vs.                                 REIMBURSEMENT
                                     14
                                          OPTIMA FUNERAL HOME, INC., a
                                     15   California Corporation, HUGO
                                          SANCHEZ, a California resident, ANA
                                     16   MARIA BELCHER, a California resident,
                                          ARISTEO LUCAS, a California resident,
                                     17   ILDEFONSO MONTES, a California
                                          resident, ALFONSO MONTES, a
                                     18   California resident, JASMIN MONTES, a
                                          California resident, ANTHONY
                                     19   MONTES, a California resident, and
                                          DOES 1 through 10,
                                     20
                                                                   Defendants.
                                     21
                                     22         Plaintiff AMGUARD INSURANCE COMPANY (“AmGUARD”) brings this
                                     23   action against Defendants OPTIMA FUNERAL HOME, INC., HUGO SANCHEZ,
                                     24   ANA MARIA BELCHER, ARISTEO LUCAS, ILDEFONSO MONTES,
                                     25   ALFONSO MONTES, JASMIN MONTES, ANTHONY MONTES (collectively
                                     26   “Defendants”) and alleges as follows:
                                     27
                                     28
                                                                          -1-
                                                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1                              NATURE OF THE ACTION
                                      2         1.     This is an action for declaratory relief pursuant to 28 U.S.C. § 2201(a),
                                      3   requesting a judgment declaring the respective rights and obligations of the parties
                                      4   in connection with an actual controversy arising under a Businessowner’s policy
                                      5   issued by AmGUARD to Defendant Optima Funeral Home, Inc. (“Optima”).
                                      6         2.     AmGUARD brings this action to obtain a declaration that it owes no
                                      7   duty to defend Optima, Hugo Sanchez (“Sanchez”), Ana Maria Belcher (“Belcher”),
                                      8   and Aristeo Lucas (“Lucas”) (collectively, the “Optima Defendants”) in connection
                                      9   with an underlying lawsuit entitled Ildefonso Montes, et al. v. Optima Funeral Home,
                                     10   Inc. et al., Los Angeles County Superior Court, Case No. 21STCV13397 (the
                                     11   “Underlying Lawsuit”).        AmGUARD further brings this action to obtain a
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                                     12   declaration that it owes no duty to indemnify the Optima Defendants in connection
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                                     13   with the Underlying Lawsuit.
                                     14         3.     This is also an action for reimbursement of amounts paid or to be paid
                                     15   by AmGUARD for defense costs or any other amounts on behalf of the Optima
                                     16   Defendants in connection with the Underlying Lawsuit.
                                     17         4.     AmGUARD has named Ildefonso Montes, Alfonso Montes, Jasmin
                                     18   Montes, and Anthony Montes (the “Montes Parties”) as co-defendants in this action
                                     19   as they are the plaintiffs in the Underlying Lawsuit and in order to bind them to the
                                     20   declarations sought herein.
                                     21                      PARTIES, JURISDICTION AND VENUE
                                     22         5.     Plaintiff AmGUARD is a corporation organized and existing under the
                                     23   laws of the State of Pennsylvania, with its principal place of business in
                                     24   Pennsylvania.
                                     25         6.     Defendant Optima is a corporation organized and existing under the
                                     26   laws of the State of California with its principal place of business in California.
                                     27         7.     Defendant Sanchez is a resident of Los Angeles, California.
                                     28         8.     Defendant Belcher is a resident of Los Angeles, California.
                                                                             -2-
                                                     COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1          9.     Defendant Lucas is a resident of Los Angeles, California.
                                      2          10.    Each of the Montes Parties are residents of Los Angeles, California.
                                      3          11.    This Court has jurisdiction over this matter pursuant to the Court’s
                                      4   diversity jurisdiction under 28 U.S.C. § 1332 in that the parties are citizens of
                                      5   different states and the amount in controversy exceeds the jurisdictional limits of
                                      6   this Court.
                                      7          12.    Rule 57 of the Federal Rules of Civil Procedure provides that
                                      8   AmGUARD may seek a declaration from this Court as to the rights and obligations
                                      9   among and between the parties in relation to the AmGUARD-issued insurance
                                     10   policy at issue, including, but not limited to, whether AmGUARD has an obligation
                                     11   to provide a defense and/or indemnity to the Optima Defendants in connection with
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                                     12   Underlying Lawsuit and the claims which are the subject of the Underlying Lawsuit.
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                                     13          13.    Venue is proper in this Court pursuant to U.S.C. § 1391 as a substantial
                                     14   part of the events or omissions giving rise to this action occurred in this judicial
                                     15   district.
                                     16                            THE UNDERLYING LAWSUIT
                                     17   A.     The Complaint in the Underlying Lawsuit
                                     18          14.    On April 8, 2021, the Montes Parties filed a complaint (“Complaint”)
                                     19   in the Underlying Lawsuit asserting causes of action for Negligence, Unlawful
                                     20   Business Practice, Professional Malpractice, and Intentional Infliction of Emotional
                                     21   Distress against the Optima Defendants.        Attached hereto as Exhibit A, and
                                     22   incorporated by reference, is a true and correct copy of the Complaint filed in the
                                     23   Underlying Lawsuit (the “Complaint”).
                                     24          15.    Optima is a duly licensed funeral home which is required to operate in
                                     25   compliance with applicable California statutes and regulations. (Complaint, at ¶3.)
                                     26          16.    Sanchez, Belcher, and Lucas are each funeral directors licensed by the
                                     27   State of California and Optima employees. (Complaint, at ¶2.)
                                     28
                                                                              -3-
                                                      COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1         17.    Plaintiffs in the Underlying Lawsuit, the Montes Parties, allege that on
                                      2   or about February 3, 2021 the Optima Defendants wrongfully allowed Goldin
                                      3   DeLuca to be cremated without the Montes Parties’ knowledge or authorization.
                                      4   (Complaint, at ¶15.) The Montes Parties allege that Goldin DeLuca’s cremation was
                                      5   illegal and violated California Health & Safety Code Sections 7100, 7110, and 7111.
                                      6   (Complaint, at ¶ 16.)
                                      7         18.    Goldin DeLuca was the wife of Ildefonso Montes and the mother of
                                      8   Alfonso Montes, Jasmin Montes, and Anthony Montes. (Complaint, at ¶¶6-7.)
                                      9         19.     The Montes Parties allege that Goldin DeLuca and Ildefonso Montes
                                     10   arranged their after-death plans by, in part, purchasing a double-capacity burial
                                     11   space so that their remains could be entombed together. (Complaint, at ¶18.)
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                                     12         20.    Goldin DeLuca died on December 27, 2020, at Community Hospital.
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                                     13   The Montes Parties allege that they understood services would be delayed due to the
                                     14   COVID-19 pandemic, but were assured Ms. DeLuca’s body would be maintained in
                                     15   a refrigerated facility at the hospital. (Complaint, at ¶¶9-10.)
                                     16         21.    The Montes Parties allege that Community Hospital contracted to store
                                     17   bodies in Optima’s refrigerated holding facility and released Goldin DeLuca’s body
                                     18   to Optima without their authorization, accompanied by a Death Report identifying
                                     19   Alfonso Montes as Ms. DeLuca’s son and which allegedly provided his contact
                                     20   information. (Complaint, at ¶¶11, 13.)
                                     21         22.    The Montes Parties allege that the Optima Defendants’ failure to adhere
                                     22   to a reasonable method for tracking bodies in its holding facility ultimately resulted
                                     23   in Optima transporting Goldin DeLuca’s body to Affordable Cremations of the High
                                     24   Desert for cremation. (Complaint, at ¶14.) The Montes Parties allege that the
                                     25   Optima Defendants erred in failing to note Alfonso Montes’ contact information,
                                     26   failing to affix a note with Alfonso Montes’ identity onto Ms. DeLuca’s remains,
                                     27   and that Belcher and Lucas completed forms indicating that “No Family was ever
                                     28
                                                                           -4-
                                                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1   found” in the process of providing authority for Ms. DeLuca’s cremation.
                                      2   (Complaint, at ¶¶14-15.)
                                      3         23.    Under their Negligence cause of action, the Montes Parties allege that
                                      4   the Optima Defendants failed to put in place or follow procedures for the
                                      5   identification of the deceased in their care as required to determine the existence of
                                      6   the deceased’s family members. (Complaint, at ¶20.) The Montes Parties allege
                                      7   that Optima failed to train its staff to assure that bodily remains were properly
                                      8   identified at the time of acceptance and that family members were notified.
                                      9   (Complaint, at ¶¶21-24.)     The Montes Parties further allege that the Optima
                                     10   Defendants mishandled Goldin DeLuca’s remains, made no effort to determine if
                                     11   she had family members to notify, and attempted by misrepresentation to conceal
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                                     12   the above conduct. (Complaint, at ¶¶26, 29, 30.)
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                                     13         24.    Under their Unlawful Business Practices cause of action, the Montes
                                     14   Parties allege that the Optima Defendants’ handling of Goldin DeLuca’s remains
                                     15   violated California Code of Regulations section 1204(b). (Complaint, at ¶36.)
                                     16         25.    Under their Professional Negligence cause of action, the Montes Parties
                                     17   allege that the Optima Defendants breached the standard of care required by licensed
                                     18   Funeral Establishments and Funeral Directors by failing to locate and notify Goldin
                                     19   DeLuca’s relatives prior to her cremation. (Complaint, at ¶¶39-40.) The Montes
                                     20   Parties allege that if Sanchez, Belcher, and Lucas had acted within the required
                                     21   standard of care and practice applicable to funeral directors, errors that resulted in
                                     22   Ms. DeLuca’s cremation would have been discovered. (Complaint, at ¶40.)
                                     23         26.    Under their Infliction of Emotional Distress cause of action, the Montes
                                     24   Parties allege that on February 22, 2021, Lucas and Sanchez called Jasmin Montes
                                     25   and attempted to cover-up Goldin DeLuca’s cremation by offering free cremation
                                     26   services. (Complaint, at ¶¶43-46.) The Montes Parties allege that they rejected the
                                     27   offers and advised that Ms. DeLuca had made plans to be buried with her husband.
                                     28   (Complaint, at ¶¶43-46.) The Montes Parties further allege that they met with
                                                                           -5-
                                                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1   defendant Sanchez, who agreed to provide traditional embalming and the
                                      2   presentation of Ms. DeLuca’s remains, but refused to allow any viewing before filler
                                      3   and make-up could be applied. (Complaint, at ¶¶47-49.) The Montes Parties
                                      4   additionally allege that Sanchez called Jasmin Montes on February 23, 2021,
                                      5   advising of Ms. DeLuca’s cremation and claiming that Community Hospital relayed
                                      6   that Ms. DeLuca did not have family before admitting that the Death Report
                                      7   identified Alfonso Montes. (Complaint, at ¶¶50 – 51.) The Montes Defendants
                                      8   allege that the Optima Defendants ultimately offered $50,000 to them as a “buy-off.”
                                      9   (Complaint, at ¶53.)
                                     10   B.    The Optima Defendants’ Answer
                                     11         27.   The Optima Defendants filed a verified Answer to Plaintiffs’ Amended
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                                     12   Complaint on July 23, 2021 (the “Answer”). Attached hereto as Exhibit B, and
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                                     13   incorporated by reference, is a true and correct copy of the Optima Defendants’
                                     14   Answer.
                                     15         28.   In the Answer, Optima admits that it was a licensed funeral home and
                                     16   required to operate consistent with “its Rules and Regulations” and the “Regulations
                                     17   of the Cemetery and Funeral Bureau as applicable to Funeral Establishments.”
                                     18   (Answer, at ¶3.) Sanchez, Belcher, and Lucas admit they were funeral directors
                                     19   licensed by the State of California and Optima employees. (Answer, at ¶2.)
                                     20         29.   The Optima Defendants “admit to negligence in the handling of [Ms.
                                     21   DeLuca’s] body.” (Answer, at ¶¶21, 39-40.)
                                     22         30.   The Optima Defendants also admit to “initially attempting to conceal
                                     23   from [the Montes Parties] the fact [Goldin DeLuca’s] body had been inadvertently
                                     24   cremated, which resulted in [the Montes Plaintiffs] claims for damages in” the
                                     25   Underlying Lawsuit. (Answer, at ¶55.)
                                     26   C.    AmGUARD’s Coverage Position
                                     27         31.   In its coverage position letter relating to the Montes Parties’ complaint
                                     28   in the Underlying Lawsuit, AmGUARD has agreed to defend the Optima Defendants
                                                                            -6-
                                                    COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1   subject to a reservation of rights, including the right to seek reimbursement of
                                      2   defense costs.
                                      3                                       THE POLICY
                                      4         32.      AmGUARD issued a Businessowner’s Policy, policy number
                                      5   OPBP246650, to Optima for the policy period January 11, 2021 to January 11, 2022
                                      6   (the “Policy”). The Policy affords liability coverage subject to a $1 million each
                                      7   occurrence limit. Attached hereto as Exhibit C, and incorporated by reference, is
                                      8   a true and correct copy of the Policy.
                                      9         33.      The Policy affords Businessowner’s Coverage pursuant to form BP 00
                                     10   03 01 10, which provides in part as follows:
                                     11                       BUSINESSOWNER’S COVERAGE FORM
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                                     12
                                                SECTION II – LIABILITY
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                                     13
                                     14         A. Coverages

                                     15               1. Business Liability
                                     16
                                                         a. We will pay those sums that the insured becomes legally
                                     17                     obligated to pay as damages because of “bodily injury”,
                                     18                     “property damage” or “personal and advertising injury” to
                                                            which this insurance applies. We will have the right and duty
                                     19                     to defend the insured against any “suit” seeking those
                                     20                     damages. However, we will have no duty to defend the
                                                            insured against any “suit” seeking damages for “bodily
                                     21                     injury”, “property damage” or “personal and advertising
                                     22                     injury” to which this insurance does not apply. We may, at
                                                            our discretion, investigate any “occurrence” or any offense
                                     23                     and settle any claim or “suit” that may result.
                                     24
                                                                                      ***
                                     25                  b. This insurance applies:
                                     26
                                                            (1)   To “bodily injury” and “property damage” only if:
                                     27
                                     28
                                                                           -7-
                                                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1                        (a)   The “bodily injury” or “property damage” is
                                      2                              caused by an “occurrence” that takes place in the
                                                                     “coverage territory”;
                                      3
                                      4                        (b)   The “bodily injury” or “property damage”
                                                                     occurs during the policy period; and
                                      5
                                      6                        (c)   Prior to the policy period, no insured listed under
                                                                     Paragraph C.1. Who Is an Insured and no
                                      7                              “employee” authorized by you to give or receive
                                      8                              notice of an “occurrence” or claim, knew that the
                                                                     “bodily injury” or “property damage” had
                                      9                              occurred, in whole or in part. If such a listed
                                     10                              insured or authorized “employee” knew, prior to
                                                                     the policy period, that the “bodily injury” or
                                     11                              “property damage” occurred, then any
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                                     12                              continuation, change or resumption of such
                                                                     “bodily injury” or “property damage” during or
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                                     13                              after the policy period will be deemed to have
                                     14                              been known before the policy period.
                                     15                                         ***

                                     16              f. Coverage Extension – Supplementary Payments

                                     17                 (1)    We will pay, with respect to any claim we investigate
                                     18                        or settle, or any “suit” against an insured we defend:
                                                                                ***
                                     19
                                                               (e)   All court costs taxed against the insured in the
                                     20                              “suit”. However, these payments do not include
                                     21                              attorneys’ fees or attorneys’ expenses taxed
                                                                     against the insured.
                                     22
                                                                                ***
                                     23
                                               B. Exclusions
                                     24
                                     25           1. Applicable To Business Liability Coverage

                                     26              This insurance does not apply to:
                                     27                                         ***
                                     28              j. Professional Services
                                                                          -8-
                                                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                      1                    “Bodily injury”, “property damage” or “personal and
                                      2                    advertising injury” caused by the rendering or failure to
                                                           render any professional service. This includes but is not
                                      3                    limited to:
                                      4
                                                           (1)    Legal, accounting or advertising services;
                                      5
                                      6                    (2)    Preparing, approving, or failing to prepare or approve
                                                                  maps, drawings, opinions, reports, surveys, change
                                      7                           orders, designs or specifications;
                                      8
                                                           (3)    Supervisory, inspection or engineering services;
                                      9
                                     10                    (4)    Medical, surgical, dental, x-ray or nursing services
                                                                  treatment, advice or instruction;
                                     11
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                                     12                    (5)    Any health or therapeutic service treatment, advice or
                                                                  instruction;
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                                     13
                                     14                    (6)    Any service, treatment, advice or instruction for the
                                                                  purpose of appearance or skin enhancement, hair
                                     15                           removal replacement or personal grooming;
                                     16
                                                           (7)    Optometry or optical or hearing aid services including
                                     17                           the prescribing, preparation, fitting, demonstration or
                                     18                           distribution of ophthalmic lenses and similar products
                                                                  or hearing aid devices;
                                     19
                                     20                    (8)    Any body piercing services (not including ear lobe
                                                                  piercing), tattooing and similar services;
                                     21
                                     22                    (9)    Services in the practice of pharmacy; and
                                     23                    (10) Computer or software design, advice or consultation,
                                     24                         programming services including virus protection,
                                                                firewall or web site design.1
                                     25
                                     26
                                     27   1
                                           Subsections (8), (9), and (10) under Exclusion j. Professional Services appear as modified
                                     28   by the “CA Policy Customizations” endorsement, form BP 99 CA 09 16.
                                                                           -9-
                                                   COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                     1            This exclusion applies even if the claims allege negligence or
                                     2            other wrongdoing in the supervision, hiring, employment,
                                                  training or monitoring of others by an insured, if the
                                     3            “occurrence” which caused the “bodily injury” or “property
                                     4            damage”, or the offense which caused the “personal and
                                                  advertising injury”, involved the rendering or failure to render
                                     5            of any professional service.
                                     6                                    ***
                                     7   C. Who Is An Insured
                                     8
                                            1. If you are designated in the Declarations as:
                                     9                                    ***
                                    10         d. An organization other than a partnership, joint venture or
                                    11            limited liability, you are an insured. Your “executive
                                                  officers” and directors are insureds, but only with respect to
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                                    12            their duties as your officers or directors. Your stockholders
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                                    13            are also insureds, but only with respect to their liability as
                                                  stockholders.
                                    14
                                                                          ***
                                    15
                                            2. Each of the following is also an insured:
                                    16
                                    17         a. Your “volunteer workers” only while performing duties
                                                  related to the conduct of your business, or your “employees”
                                    18            other than either your “executive officers” (if you are an
                                    19            organization other than a partnership, joint venture or limited
                                                  liability company) or your managers (if you are a limited
                                    20            liability company), but only for acts within the scope of their
                                    21            employment by you or while performing duties related to the
                                                  conduct of your business.
                                    22
                                                                          ***
                                    23   E. Liability And Medical Expenses General Conditions
                                    24                                    ***
                                    25      2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
                                    26
                                               a. You must see to it that we are notified as soon as practicable
                                    27            of an “occurrence” or an offense which may result in a claim.
                                    28            To the extent possible, notice should include:
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                                     1            (1) How, when and where the “occurrence” or offense took
                                     2                place;

                                     3            (2) The names and addresses of any injured persons and
                                     4                witnesses; and

                                     5            (3) The nature and location of any injury or damage arising
                                     6                out of the “occurrence” or offense.

                                     7         b. If a claim is made or “suit” is brought against any insured,
                                     8            you must:
                                     9            (1)   Immediately record the specifics of the claim or “suit”
                                    10                  and the date received; and
                                    11            (2)   Notify us as soon as practicable.
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                                    12
                                                  You must see to it that we receive written notice of the claim
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                                    13            or “suit” as soon as practicable.
                                    14
                                               c. You and any other involved insured must:
                                    15
                                    16            (1)   Immediately send us copies of any demands, notices,
                                                        summonses, or legal papers received in connection
                                    17                  with the claim or “suit”;
                                    18
                                                  (2)   Authorize us to obtain records and other information;
                                    19
                                    20            (3)   Cooperate with us in the investigation or settlement of
                                                        the claim or defense against the “suit”; and
                                    21
                                    22            (4)   Assist us, upon our request, in the enforcement of any
                                                        right against any person or organization that may be
                                    23                  liable to the insured because of injury or damage to
                                    24                  which this insurance may also apply.
                                    25         d. No insured will, except at that insured’s own cost, voluntarily
                                    26            make a payment, assume any obligation, or incur any
                                                  expense, other than for first aid, without our consent.
                                    27
                                                                          ***
                                    28
                                                                   -11-
                                            COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                     1   F. Liability And Medical Expenses Definitions
                                     2                                     ***
                                     3      3. “Bodily injury” means bodily injury, sickness or disease
                                               sustained by a person, including death resulting from any of these
                                     4
                                               at any time.
                                     5                                     ***
                                     6      5. “Employee” includes a “leased worker”. “Employee” does not
                                     7         include a “temporary worker”.

                                     8                                     ***
                                            10.“Leased worker” means a person leased to you by a labor leasing
                                     9
                                               firm under an agreement between you and the labor leasing firm,
                                    10         to perform duties related to the conduct of your business.
                                               “Leased worker” does not include a “temporary worker”.
                                    11
                                                                           ***
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                                    12
                                            13.“Occurrence” means an accident, including continuous or
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                                    13         repeated exposure to substantially the same general harmful
                                    14         conditions.
                                    15                                     ***
                                            17.“Property damage” means:
                                    16
                                    17         a. Physical injury to tangible property, including all resulting
                                    18            loss of use of that property. All such loss of use shall be
                                                  deemed to occur at the time of the physical injury that caused
                                    19            it; or
                                    20
                                               b. Loss of use of tangible property that is not physically injured.
                                    21            All such loss of use shall be deemed to occur at the time of
                                    22            the “occurrence” that caused it.

                                    23      18.“Suit” means a civil proceeding in which damages because of
                                    24         “bodily injury”, “property damage”, or “personal and advertising
                                               injury” to which this insurance applies are alleged. “Suit
                                    25         includes:
                                    26
                                               a. An arbitration proceeding in which such damages are claimed
                                    27            and to which the insured must submit or does submit with our
                                    28            consent; or
                                                                   -12-
                                            COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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                                     1                 b. Any other alternative dispute resolution proceeding in which
                                     2                    such damages are claimed and to which the insured submits
                                                          with our consent.
                                     3
                                     4               19.“Temporary worker” means a person who is furnished to you to
                                                        substitute for a permanent “employee” on leave or to meet
                                     5                  seasonal or short-term workload conditions.
                                     6                                             ***
                                     7         34.     In addition to the terms, conditions, exclusions, and definitions set forth
                                     8   above, the Policy contains other provisions which AmGUARD may rely on in
                                     9   support of the relief sought herein.
                                    10                               FIRST CAUSE OF ACTION
                                    11     (Declaratory Relief Against the Optima Defendants – No Duty to Defend)
633 West Fifth Street, 52nd Floor




                                    12         35.     AmGUARD incorporates by reference paragraphs 1 through 34
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13   inclusive as though set forth in full herein.
                                    14         36.     An actual and present controversy has arisen and now exists between
                                    15   AmGUARD and the Optima Defendants concerning their respective rights and
                                    16   obligations under the Policy with respect to the Underlying Lawsuit. AmGUARD
                                    17   contends it owes no duty to defend Optima, Sanchez, Belcher, and/or Lucas in
                                    18   connection with the Underlying Lawsuit.
                                    19         37.     AmGUARD contends that it owes no duty to defend the Optima
                                    20   Defendants in connection with the Underlying Lawsuit in light of the Montes
                                    21   Parties’ claims and allegations therein due to the above-quoted Professional Services
                                    22   exclusion in the Policy (Exclusion j.).
                                    23         38.     AmGUARD further contends that it owes no duty to defend the Optima
                                    24   Defendants in connection with the Underlying Lawsuit in light of the Montes Parties
                                    25   claims and allegations therein, and the conduct of the Optima Defendants, due to
                                    26   other terms, provisions, conditions, exclusions, and endorsements in the Policy and
                                    27   applicable law, including pursuant to the insuring agreement requirements that the
                                    28   Underlying Lawsuit allege “bodily injury” or “property damage.”
                                                                         -13-
                                                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
                             Case 2:22-cv-04179-MWF-JC Document 1 Filed 06/21/22 Page 14 of 16 Page ID #:14



                                     1         39.    AmGUARD is informed and believes, and on that basis alleges, that the
                                     2   Optima Defendants contend that AmGUARD owes them a duty to defend under the
                                     3   Policy in connection with the Underlying Lawsuit despite the foregoing.
                                     4         40.    AmGUARD seeks a judicial declaration regarding the respective rights
                                     5   and duties of the parties under the Policy and, specifically, that AmGUARD did not
                                     6   and does not owe a duty to defend the Optimate Defendants in connection with the
                                     7   Underlying Lawsuit.
                                     8         41.    AmGUARD has no adequate remedy at law and a judicial declaration
                                     9   is necessary and appropriate at this time.
                                    10                             SECOND CAUSE OF ACTION
                                    11   (Declaratory Relief Against the Optima Defendants – No Duty To Indemnify)
633 West Fifth Street, 52nd Floor




                                    12         42.    AmGUARD incorporates by reference paragraphs 1 through 41
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13   inclusive as though set forth in full herein.
                                    14         43.    An actual and present controversy has arisen and now exists between
                                    15   AmGUARD and the Optima Defendants concerning the respective rights and
                                    16   obligations under the Policy with respect to the Underlying Lawsuit. AmGUARD
                                    17   contends it owes no duty to indemnify the Optima Defendants in connection with
                                    18   the Underlying Lawsuit as a result of the Professional Services exclusion in the
                                    19   Policy, and other terms, provisions, conditions, exclusions, and endorsements
                                    20   contained therein and pursuant to applicable law.
                                    21         44.    AmGUARD is informed and believes, and on that basis alleges, that the
                                    22   Optima Defendants contend that AmGUARD owes them a duty to indemnify under
                                    23   the Policy in connection with the Underlying Lawsuit despite the foregoing.
                                    24         45.    AmGUARD seeks a judicial declaration regarding the respective rights
                                    25   and duties of the parties under the Policy and, specifically, that AmGUARD does
                                    26   not owe a duty to indemnify in connection with the Underlying Lawsuit.
                                    27         46.    AmGUARD has no adequate remedy at law and a judicial declaration
                                    28   is necessary and appropriate at this time.
                                                                         -14-
                                                  COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
                             Case 2:22-cv-04179-MWF-JC Document 1 Filed 06/21/22 Page 15 of 16 Page ID #:15



                                     1                              THIRD CAUSE OF ACTION
                                     2                   (Reimbursement Against the Optima Defendants)
                                     3         47.    AmGUARD incorporates by reference paragraphs 1 through 46
                                     4   inclusive as though set forth in full herein.
                                     5         48.    AmGUARD’s agreement to participate in the defense of the Optima
                                     6   Defendants in the Underlying Lawsuit is, and has always been, subject to a full and
                                     7   complete reservation of rights, including the right to seek reimbursement of amounts
                                     8   incurred in the defense of claims that were not potentially covered under the Policy
                                     9   or any other amounts that have been incurred or which may be incurred in the future
                                    10   that are not covered or potentially covered under the Policy.
                                    11         49.    AmGUARD has paid, and will continue to pay, amounts to defend the
633 West Fifth Street, 52nd Floor




                                    12   Optima Defendants in the Underlying Lawsuit and otherwise which are neither
    Los Angeles, CA 90071
     Gordon & Rees LLP




                                    13   covered nor potentially covered under the Policy, resulting in unjust enrichment to
                                    14   the Optima Defendants in the amount of such payments.
                                    15         50.    As a result of such unjust enrichment, a quasi-contractual right of
                                    16   reimbursement has arisen in favor of AmGUARD against the Optima Defendants.
                                    17                                         PRAYER
                                    18         WHEREFORE, AmGUARD prays for judgment as follows:
                                    19         1.     For a judicial determination that AmGUARD owes no duty to defend
                                    20                the Optima Defendants in connection with the Underlying Lawsuit;
                                    21         2.     For a judicial determination that AmGUARD owes no duty to
                                    22                indemnify the Optima Defendants in connection with the Underlying
                                    23                Lawsuit;
                                    24         3.     For an order that the Optima Defendants are obligated to reimburse
                                    25                AmGUARD for amounts AmGUARD has incurred and will incur in
                                    26                the defense of the Underlying Lawsuit, and for any other amounts
                                    27                AmGUARD has incurred or may incur on behalf of the Optima
                                    28                Defendants in connection with the Underlying Lawsuit;
                                                                           -15-
                                                    COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
                               Case 2:22-cv-04179-MWF-JC Document 1 Filed 06/21/22 Page 16 of 16 Page ID #:16



                                       1        4.     For costs of suit incurred in this action, according to proof; and
                                       2        5.     For such other relief as the Court may deem just and proper.
                                       3
                                       4   Dated: June 17, 2022                      GORDON REES SCULLY
                                                                                     MANSUKHANI, LLP
                                       5
                                       6
                                       7                                             By:
                                                                                           Matthew S. Foy
                                       8                                                   James L. Ellison
                                                                                           Attorneys for Plaintiff
                                       9                                                   AMGUARD INSURANCE
                                                                                           COMPANY
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  633 West Fifth Street, 52nd Floor




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      Los Angeles, CA 90071
       Gordon & Rees LLP




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                                                     COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
